                 UNITED STATES DISTRICT COURT
                                         for the
                                   District of Kansas

COI Robert Craft,                             )
      Plaintiff,                              )
                                              )
v.                                            ) Case No: 6:23-cv-01081-JAR-
                                              ) GEB
CSI Jacob Townsend,                           )
CSI John Linneman,                            )
Administrator Teresa Glendening,              )
Warden Hazel Peterson, and                    )
                                              )
Deputy Secretary of Facilities                )
Management Joel Hrabe                         )
                                              )
      Defendants
___________________________/

 ________________________________________________________________________

                 Plaintiff’s Motion for Emergency Provisional Remedy

        1. I, Robert Craft, in the aforementioned capacity, with the utmost

            humbleness and humility, bring forth this "Plaintiff Motion for

            Emergency Provisional Remedy." and does hereby establish a

            foundational perimeter of un-declared facts, includes supporting

            exhibits, and makes provisional remedy request to relieve suffering and

            great harm.

        2. Defendants

                a. Defendant 1: CSI Jacob Townsend in the aforementioned capacity

                b. Defendant 2: CSI John Linneman in the aforementioned capacity

                c. Defendant 3: Administrator Teresa Glendening in the

                    aforementioned capacity


                                                                              Page 1 of 4
              d. Defendant 4: Warden Hazel Peterson in the aforementioned

                 capacity

              e. Defendant 5: Deputy Secretary of Facilities Management Joel

                 Hrabe in the aforementioned capacity

Statement of Un-Declared Facts

     3. The Plaintiff was a Pubic Officer for the Kansas Department of

        Corrections from November 28, 2022, to April 11, 2023.

     4. The Plaintiff was a “Person holding an Office of Trust and Profit” under

        the Constitution for the United States per Article II Section I and Article

        VI.

     5. The Plaintiff declares by the Law of Liberty of Contracts a Ratified

        Collectively Bargained Agreement between the Kansas Department of

        Corrections and the Kansas Organization of State Employees to be an

        inferior contract to the aforementioned superior Public and Public Officer

        contract. (hereinafter CBA).

     6. The Plaintiff declares the CBA did in fact set the foundation of elements

        and measures of Public Treasury Awards and Benefits for which the

        Plaintiff has an expectant.

Defendants’ Position and Discrepancies

     7. Defendants 1 and 2 have consented to the individual presumption by the

        action of silence that Plaintiff had no rights of protection per email Craft -

        Summary of Meeting on March 12, 2023 (Exhibit A), and the subsequent

        actions of ALL Defendants then after confirmed the individuals’

        presumptions.

                                                                           Page 2 of 4
      8. Additionally, it was openly admitted in a letter from Defendant 4 received

         by Plaintiff per USPS on April 28, 2023, citing Kansas Administrative

         Regulation (hereinafter KAR) 1-7-3 was applied in the decision to dismiss

         Plaintiff without supporting and adhering to the Plaintiff’s 5th

         Amendment Right of Due Process (Exhibit B).

      9. The Plaintiff presents to this honorable court KAR 1-7-7 (Exhibit C) and

         KDOC IMPP 12-120D (Exhibit D) both supporting the Plaintiff’s claim of

         protection under the 5th Amendment right to not be deprived of Liberty

         and Property without Due Process of Law, even on “Probation”.

Plaintiff Suffering and Hardship

      10.   The Plaintiff is not able to pay bills and has already suffered financial

         reputation damages.

      11.   The Plaintiff is on the verge of suffering property loss as well as the

         ability to maintain living conditions.

      12.   The Plaintiff is no longer able to pay for medication due to the

         deprivations of awards and medical benefits.

      13.   The Plaintiff is suffering injustices and great hardship due to the

         unjust actions of the Defendants.

Request to Court

      14.   The Plaintiff respectfully requests this honorable court act hastily and

         in due diligence to execute a Provisional Remedy of Garnishment to the

         Kansas Department of Corrections for the dispersal of all Plaintiff-

         deprived Public Treasury Awards and Benefits and command all

         subsequent awards and benefits continue accordingly as though the

                                                                            Page 3 of 4
            Plaintiff was physically fulfilling has standard duties until such time as a

            final order or mutual agreement can be attained regarding this

            controversy.


Index of Attachments

       15.     Total of 4 Exhibits

   Exhibit A - Craft - Summary of Meeting on March 12, 2023 - craft.kdoc@gmail

   Exhibit B - 20230428 - Letter from Warden Peterson DATED 4-25-2023

   Exhibit C - 1-7-7 Kansas Secretary of State - KAR Regulations

   Exhibit D - IMPP 02-120D - HUMAN RESOURCES Employee Disciplinary

   Procedures (Page 1)

Affidavit

       16.     This affidavit is submitted in accordance with 28 U.S. Code § 1746 -

            Unsworn declarations under penalty of perjury, Plaintiff hereby declares

            under the penalty of perjury that the foregoing is true and correct to the

            best of Plaintiff’s knowledge.


                                     Certificate of Service

       I HEREBY CERTIFY that a true copy of the foregoing will be sent to

Defendants per Fed. R. Civ. P. 5(b)(2) – (A), (B)(i), or (C)



                                                         s/___________________________
                                                                       COI Robert Craft
                                                                          209 N Oak St
                                                                   Stockton, KS 67669
                                                             Telephone: 941-270-0938
                                                          Email: craft.kdoc@gmail.com


                                                                              Page 4 of 4
